Theya Kanagaratnam, living woman F | L FE D

On the county at Large, alameda

Non-Domestic FEB
cio 2316 Lakeshore Ave. #16 us aan 03 2025 :
Oakland, California Republic [94606] mi KRUP
e-mail: theyak101@yahoo.com NORTHERty DisTRig OF NT
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION
Theya Kanagaratnam
Petitioner
THEYA PRAKASHINI KANAGARATNAM
Debtor Case No: 24-40209
Motion for Summary
Judgement
US BANK & SELENE FINANCE
Defendant One
CITIBANK & CENLAR
Defendant Two

Judge: William J. Lafferty

Good Morning Your Honor:

Petitioner’s Motion For Summary Judgement

1, Introduction

I, Theya Kanagaratnam, Propria Persona proceeding sui juris, a woman of flesh and blood,
standing on my own square, upon the land of California Republic, I am hereby special
appearance not a general appearance and I reserve all my rights with explicit reservation without
prejudice.

I, hereby, respectfully move for summary judgement as there are no disputed issues of material!
facts or credibility that warrant a hearing or further delay in this case.

Under UCC 3-603, the extent of discharge when a tender of payment is made is defined by
discharging the debtor from liability to the extent of the amount tendered.

—)-
Ik. Statement Of Claims

1. On May 13, 2013 Petitioner refinanced the 1°* Mortgage with Quicken Loans for the
amount of $304,200.00 of the home she purchased in December 2002. Evidence of
NOTE and related terms were supplied to this court with May 20, 2024 filing.
Petitioner tendered a Negotiable Instrument to DEFENDANT ONE in the amount of
$294,000.00, explicitly marked and communicated as “payment in full” for any
outstanding claims related to the original contract. This was done under the principle of
Accord and Satisfaction.

A Side Note: DEFENDANT ONE, US BANK, in July/August 2022 claimed to have
acquired the NOTE but never recorded a Deed of Trust (DOT) with Alameda County
Recorder’s Office Until April 05, 2023 some eight months later. Prior to that, the last
known DOT recorded at the county was from June 19, 2013, apparently, when Quicken
Loans handed this over to MERS (Mortgage Electronic Registration System). After that,
Quicken Loans was nowhere to be found. It remained in there until Apri! 05, 2023.
However, MERS in their database put this alleged loan in Inactive Status before it ever
assigned the DOT in January of 2023 NOT to US Bank but to a 3“ Party and in March of
2023 that Party assigned it to DEFENDANT ONE. This fact alone renders the DOT
unenforceable, Furthermore, By the time DEFENDANT ONE got around to recording
the DOT on April 05, 2023, whether there was an enforceable DOT or not, the Petitioner
had already tendered the Negotiable instrument to DEFENDANT ONE to settle this
matter two months earlier. This court must closely examine the recordation dates
carefully as the evidence of all these have lodged with this court with November 26, 2024
filing as well as MERS’s legitimacy to make such assignments. Nevertheless,
DEFENDANTS have repeatedly attempted to foreclose with an unenforceable DOT.
Again, even with an unenforceable DOT Petitioner tendered a negotiable instrument to
set off, settle and discharge this alleged foan.

2. In October 2006, Petitioner took out a Home Equity Line Of Credit for the amount of
$100,000.00 from alleged Creditor DEFENDANT TWO (CITIBANK). Evidence of
NOTE and related terms were supplied to this court with May 20, 2024 filing.
Throughout the entire history of that loan, Petitioner never withdrew the entire sum of
$100,000.00. Petitioner tendered two Negotiable Instrument to DEFENDANT ONE, each
in the amount of $294,000.00, explicitly marked and communicated as “payment in full”
for any outstanding claims related to the original contract. This was done under the
principle of Accord and Satisfaction.

If, Statement of Undisputed Material Facts
As Per the Bill In Equity Filing with this court on November 15, 2024:
1, Bill of Exchange (See Exhibit B of November 15, 2024 filing for evidence) that was

accepted by Defendant One in the amount of $294,000.00 on February 6, 2023 and
never returned to Petitioner.

Under UCC 3-603, the extent of discharge when a tender of payment is made is defined by
discharging the debtor from liability to the extent of the amount tendered,

me Dm
2, Bil of Exchange and New Credit Note Draft Bank Instrument (See Exhibit of November
15, 2024 filing for evidence) that were accepted on December 22, 2022 and January 9,
2023 respectively by DEFENDANT TWO each in the amount of $71,000.00 and never
returned to Petitioner.

IV. Applicable Lawful/Legal Standards

1. Summary Judgment Standard:

Summary judgment is appropriate if the pleadings, answers to interrogatories,
admissions, affidavits and other evidence establish no genuine issue as to any material
fact, and the moving party is entitled to judgment as a matter of law. See 29 C.FLR. §
1614,109(g); see also Murphy v. Dep’t of the Army, EEOC Appeal No. 01404099 (July
11, 2003) (noting that the regulation governing decisions without a hearing is modeled
after the Federal Rules of Civil Procedure, Rule 56). Only disputes over facts that might
affect the outcome of the suit under governing law, and not irrelevant or unnecessary
factual disputes, will preclude the entry of summary judgment. See Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986). Material factual disputes include credibility
disputes where two or more people have different versions of the relevant event, and the
determination of that credibility dispute will affect the outcome of the case. There is no
genuine issue of material fact if the relevant evidence in the record, taken as a whole,
indicates that a reasonable fact-finder could not return a verdict for the party opposing
summary judgment. Id.

2. The UCC 3-603 Tender of Payment:

(a) If tender of payment of an obligation to pay an instrument is made to
a person entitled to enforce the instrument, the effect of tender is governed by
principles of law applicable to tender of payment under a simple contract.

(b) If tender of payment of an obligation to pay an instrument is made to

a person entitled to enforce the instrument and the tender is refused, there is
discharge, to the extent of the amount of the tender, of the obligation of

an indorser or accommodation party having a right of recourse with respect to
the obligation to which the tender relates.

(c) If tender of payment of an amount due on an instrument is made to a person
entitled to enforce the instrument, the obligation of the obligor to pay interest
after the due date on the amount tendered is discharged. If presentment is
required with respect to an instrument and the obligor is able and ready to pay
on the due date at every place of payment stated in the instrument, the obligor
is deemed to have made tender of payment on the due date to the person
entitled to enforce the instrument.

Under UCC 3-603, the extent of discharge when a tender of payment is made is defined by
discharging the debtor from liability to the extent of the amount tendered.

—32-
V. Analysis & Application of Law

As explained, there are no genuine issues of material fact in this case, and Petitioner is
entitled to judgment as a matter of law in her favor.

UCC 3-603(b) states even if the tender is refused, there is discharge, to the extent of
the amount of the tender...,

It is undisputed that Petitioner has stayed in honor and tendered Negotiable Instruments
in order to fulfill any outstanding obligation as Negotiable Instruments serve a dual
purpose of credit transfer and contractual obligations.

It is also undisputed that Defendants accepted the Negotiable Instruments and Never
returned them back to Petitioner, and to date All Defendants have failed to set off, settle
and discharge the alleged debt. Thus, for the record it should be noted that all Defendants have
failed to honor their contractual obligations and are in Dishonor.

Vi Conclusion

Your Honor, For the reasons set forth above and for the record, I want to settle this matter with
today’s filing and close the court services. Therefore, I respectfully request our hgnor let the
record reflect the above request and grant my Motion for Summary indgmest: and-settle this
matter immediately. If there are still disputes, Your Honor, Please have Ali Defendants render
the accounts to this court within 5-days of receiving this filing as I wish to settle this matter
without delay, close the account and have you issue the order of the court to me as soon as
possible.

I, Theya Kanagaratnam, declare under penalty of perjury under the laws of the United States of
America the foregoing is true and correct.

Respectfully submitted:

Dated: February 3", 2025 Phe FS / <enec rity bay,
Theya Kdnagaratnam =”
Beneficiary
Without Prejudice

All Rights and Liberties Reserved.

Under UCC 3-603, the extent of discharge when a tender of payment is made is defined by
discharging the debtor from liability to the extent of the amount tendered,

Yen
CERTIFICATE OF SERVICE

The Motion for Summary Judgement is placed in the Mail via United Postal Service on this 3rd

day of February 3, 2025 to the following parties:

Robertson, Anschutz, Schneid & Crane LLP
c/o Theron §, Covey

Attorney for US Bank

1 Park Plaza, Suite 600

Irvine, CA 92614

BRE RR fe fe se ae of ae af aft a ae oft ats 2 a of ie of ae ae oie ofc oe a fe oe a ae obs ak a oe aks fake

SELENE FINANCE

c/o Robert Lay, CFO

3501 Olympus Blvd., Suite 500
Dallas, TX 75019

Pie oe Safe ops fe afc she oe oft a ae fe oe he ae oft fe ole ake oft oe he ae oh oe oe of oe afc ae fe oe ole fe ole ok ok

TIFFANY & BOSCO, P.A.
c/o Richard L. Stevenson, Esq.
Attorneys for Citi Bank, N.A.
1455 Frazee Rd., Ste. 820

San Diego, CA 92108

2s FAS RE a oc ols oi fe he Ae ae a a ofc a ak af ook ae oie fe oe fea a ae ae ake ok ok ole oa oko

CENLAR FSB

c/o David Schneider, CFO
425 Phillips Blvd.

Ewing, NJ 08618

2 oe he a ae oe afc ae he a or fe af ae 2k ae of ae ak oi a oie ake kaka a oa ake ok ae ak ok

DATED this 3% day of February, 2025

By: ty} LG man | Ke AO Lard beac
Theya Kanagaratnam 7
Beneficiary

All Rights and Liberties Reserved,

Under UCC 3-603, the extent of discharge when a tender of payment is made is defined by
discharging the debtor from liability to the extent of the amount tendered.

lye
oa NS —
